           Case 1:15-cr-00046-LJO-SKO Document 184 Filed 02/28/19 Page 1 of 2


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 LAUREL J. MONTOYA
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:15-CR-00046-LJO-SKO
12                                Plaintiff,            STIPULATION TO CONTINUE SENTENCING
                                                        HEARING AND ORDER
13                          v.
                                                        DATE: March 4, 2019
14   CHRISTINA ANTONIA MARTINEZ,                        TIME: 8:30 a.m.
                                                        COURT: Hon. Lawrence J. O'Neill
15                                Defendant.
16

17                                               STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.      By previous order, this matter was set for sentencing hearing on March 4, 2019.

21          2.      By this stipulation, the government now moves to continue the sentencing hearing until

22 March 25, 2019.

23          3.      Counsel for the government, Kathleen Servatius, has been out of the office for a

24 prolonged period of time due to medical issues. Continuances have previously been granted by this

25 Court to accommodate her absence. Ms. Servatius was able to return to work on February 25, 2019 on a

26 limited basis.
27          4.      Although the government has assigned co-counsel to assist in this matter, Ms. Servatius

28 wishes to handle the matter due to the history of the matter and her familiarity with the case.

      STIPULATION REGARDING EXCLUDABLE TIME              1
30    PERIODS UNDER SPEEDY TRIAL ACT
           Case 1:15-cr-00046-LJO-SKO Document 184 Filed 02/28/19 Page 2 of 2


 1          5.     The government is requesting that the sentencing hearing be continued to March 25, 2019

 2 so she may prepare the matter and be present at the sentencing hearing.

 3          6.     Counsel for the defendant has no objection to the requested continuance.

 4          IT IS SO STIPULATED.

 5

 6
      Dated: February 28, 2019                             MCGREGOR W. SCOTT
 7                                                         United States Attorney
 8
                                                           /s/ LAUREL J. MONTOYA
 9                                                         LAUREL J. MONTOYA
                                                           Assistant United States Attorney
10

11
      Dated: February 28, 2019                             /s/ Eric Kersten
12                                                         Eric Kersten
13                                                         Counsel for Defendant
                                                           CHRISTINA ANTONIA
14                                                         MARTINEZ

15

16

17
                                                   ORDER
18
            IT IS ORDERED that the sentencing hearing currently set for March 4, 2019 be continued to
19
     March 25, 2019 at 8:30 a.m.
20
21

22 IT IS SO ORDERED.

23
        Dated:    February 28, 2019                        /s/ Lawrence J. O’Neill _____
24                                              UNITED STATES CHIEF DISTRICT JUDGE

25

26
27

28

      STIPULATION REGARDING EXCLUDABLE TIME            2
30    PERIODS UNDER SPEEDY TRIAL ACT
